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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TENNESSEE
                                         WESTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
      Plaintiff,                                     )
                                                     )
vs.                                                  )                   No. 1:17‐cr‐10022‐STA
                                                     )
ADDIE COLE,                                          )
                                                     )
      Defendant.                                     )


                                   ORDER AND NOTICE OF RESETTING


         The sentencing date in this matter is currently set for October 23, 2018 @ 11:00 a.m. before

Chief Judge S. Thomas Anderson. Pursuant to the Defendant’s Motion to Continue, the Sentencing

Hearing in the above styled matter is hereby reset to November 9, 2018 @ 11:00 a.m. before Chief

Judge S. Thomas Anderson; Courtroom #1, 4th Floor, US Courthouse, Jackson, Tennessee.



         Enter this the 17th day of October 2018.



                                                         s/S. Thomas Anderson
                                                         CHIEF JUDGE S. THOMAS ANDERSON
